UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

         Plaintiff,
                                                        22 Civ. 5187 (____)
         v.

META PLATFORMS, INC., f/k/a
FACEBOOK, INC.,

         Defendant.



                              JOINT MOTION FOR
                APPROVAL OF PROPOSED SETTLEMENT AGREEMENT

         PLEASE TAKE NOTICE that upon the accompanying memorandum of law, and the

proposed settlement agreement attached as an exhibit thereto, the parties hereby jointly move for

approval of the proposed settlement agreement.



Dated:          New York, New York
                June 21, 2022

FOR THE UNITED STATES OF AMERICA:

                                                    DAMIAN WILLIAMS
                                                    United States Attorney for the
                                                    Southern District of New York
                                                    Attorney for the United States of America

                                             By:            /s/ Ellen Blain
                                                    ELLEN BLAIN
                                                    DAVID J. KENNEDY
                                                    CHRISTINE S. POSCABLO
                                                    Assistant United States Attorneys
                                                    86 Chambers Street, 3rd Floor
                                                    New York, New York 10007
                                                    Tel.: (212) 637-2733
                                                    Fax: (212) 637-0033
                                                    david.kennedy2@usdoj.gov
FOR META PLATFORMS, INC.,
f/k/a FACEBOOK, INC.:


                                  Natalie Naugle
                                  Director and Associate General Counsel,
                                  Litigation
                                  META PLATFORMS, INC.
                                  181 Fremont Street
                                  San Francisco, CA 94105
                                  nnaugle@fb.com

                            By:           /s/ Rosemarie T. Ring
                                  Rosemarie T. Ring
                                  GIBSON, DUNN & CRUTCHER LLP
                                  555 Mission Street
                                  San Francisco, CA 94105
                                  Tel.: (415) 393-8247
                                  rring@gibsondunn.com
                                  Counsel for Meta Platforms, Inc.




                              2
